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(R°"~ 2133) 4500CR00372 DJS
TRANSFER OF JURISDICTION

 

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HHS BMQ PH 112 09

 

  

 

 

    

NAME AND ADDR.ESS OF PROBATIONER/SUPERVISED RELEASEEZ DlSTR.ICT DIVISION

Sheila Lockhart Eastern District of Missouri ._4,~-,1 _r t

6070 Ridgewood C&Rl;"d`§lb "§?\\ ar
. N l '~‘~»"

E' Memphls’ TN 381 15 AME OF SENTENC[NG JUDGE s 2

The Honorab}e Donald J. Stohr W!D @l; m L‘ "i" " “""~'
United States District Judge

 

 

DATES oF m/swsnwsso FROM T0
RELEASE" March 20, March 19,
2003 2006

 

 

 

oFFENsE
Social Security Fraud

 

PART 1 - ORDER TRANSFERRING JURISDICTION

 

 

uNITED sTATES DISTRICT CoURT FoR THE "Eastem District of Missouri"

 

 

IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or supervised
releasee named above be transferred with the records of the Court to the United States District Court for the Western
District ofTennessee upon that Court’s order of acceptance of j urisdiction. This Court hereby expressly consents that the
period of probation or supervised release may be changed by the District Court to which this transfer is made without
further inquiry of this Court.*

 

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Date United Stares Dz'srrict Ju&e

 

l"'I'his sentence may be deleted in the discretion of the transferring Court.

 

PART 2 - ORDER ACCEPTING JURISDICTION

 

uNITEo srArEs msch couRrFoR THE Westeru District of Tennessee (Hemph:ls)

 

IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be accepted
and assumed by this Court from and after the entry of this order.

At.d\...rl. 13,?_»~§' JA(/M_\

Ej]`ective Date United States Di.s'trict Judge

 

 

 

Thls dochent entered on the docket sheet In compliance
wnh nasa 55 and/or szrb) rsch on ' 157

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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This notice confirms a copy ofthc document docketed as number l in
case 2:05-CR-203]3 Was distributed by faX, mail, or direct printing on
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Terrcll L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lcmphis7 TN 38103

Honorablc Samuel Mays
US DISTRICT COURT

